
ORDER
Considering the foregoing Petition for Interim Suspension:
Pursuant to Article V, § 5 of the Louisiana Constitution of 1974, as well as the inherent powers of this Court to regulate the practice of law,
IT IS ORDERED, ADJUDGED AND DECREED that the respondent, Walter Glenn Soileau, attorney at law, be and he is suspended from the practice of law pursuant to Rule XIX, § 19, pending further orders of this court.
IT IS FURTHER ORDERED that necessary disciplinary proceedings be instituted in accordance with Rule XIX, § 11 and 19.
/s/ Jeannette Theriot Knoll Justice, Supreme Court of Louisiana
KIMBALL, J. not on panel.
Rule IV, Part 2, § 3.
